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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

UNITED STATES OF AMERICA,                    )
          Plaintiff,                         )
                                             )       Case No. 4:19-cv-00415
v.                                           )
                                             )       Filed Electronically
ALEXANDRU BITTNER,                           )
         Defendant.                          )

                            DEFENDANT ALEXANDRU BITTNER’S
                                  NOTICE OF APPEAL

          Notice is hereby given that Defendant Alexandru Bittner, in the above-named case,

 hereby appeals to the United States Court of Appeals for the Fifth Circuit from the FINAL

 JUDGMENT (Dkt. #89) entered on July 22, 2020, including the MEMORANDUM OPINION

 AND ORDER (Dkt. #75) entered in this action on June 29, 2020, denying Defendant Alexandru

 Bittner’s reasonable cause defense under 31 U.S.C. § 5321(a)(5)(B)(ii) regarding the 2007

 through 2010 FBAR penalties assessed against him for all purposes of this case, including upon

 any remand.

          Defendant will pay the $505 appeal case filing fees established by FED. R. APP. P. 3(e)

  and 5TH CIR. R. 3. A transcript is unnecessary for this appeal.



     Dated: September 4, 2020                        Respectfully submitted,

                                                     CLARK HILL STRASBURGER

                                                     By: /s/ Farley P. Katz
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                                                      ATTORNEYS FOR DEFENDANT

                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on September 4, 2020, a true and correct copy of the
foregoing was electronically filed with the Clerk of Court using the CM/ECF system, which will
send notification of such filing to the following:

                Herbert W. Linder
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                                                      /s/Rachael Rubenstein
                                                      RACHAEL RUBENSTEIN




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